    Case 3:17-cv-00072-NKM-JCH Document 367-2 Filed 10/26/18 Page 1 of 1 Pageid#: 3484
Signature:
             Christopher Cantwell (Oct 19, 2018)




                                                   IN THE UNITED STATES DISTRICT COURT
                                                       WESTERN DISTRICT OF VIRGINIA



             ELIZABETH SINES et al.                                       :       Case No. 3:17-cv-00072

                                        Plaintiff                         :       Judge MOON


                                                                          :
                          -v-

             JASON KESSLER et al.                                         :

                                                                          :
                                        Defendants



                                         DECLARATION OF CHRISTOPHER CANTWELL


                          Mr. Christopher Cantwell, having been duly cautioned, declares and states as follows:


                  1.             This declaration is based on personal knowledge.

                  2.             I have been advised by my attorney that third party ESI vendors cost upwards of
                                 $5,000 per device.

                  3.             I cannot afford to pay for third party ESI vendor examinations of any electronic
                                 devices.

                  I declare under penalty of perjury that the foregoing is true and correct. Executed on
                  October 18, 2018.



                                                                          Christopher Cantwell




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